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EXHIBIT “J”
Case o-24-Oo0/1-asSt DOC lo-LO Filed ti/iyv/2z4 entered Llilyiz4 10lo9706

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Debtor 1_Biue Diamond Air Systems, Inc U.S. Bankruptey Court

Debtor 2 Eastern District of New York
(Spouse, if filing) 5/30/2023

Unlied States Bankruptcy Court Paster District of New York Robert A. Gavin, Clerk

Case number: 22-7269

Proof of Claim 04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case, Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,

explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,G00, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fillin all the information about the clalm as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you recelved.

Identify the Claim

1.Who is the current Sheet Metal Workers’ National Pension Fund
creditor?

Name of the current creditor {the person or entity to be paid for this claim)

Other names the creditor used with the debtor

2.Has this claim been No
acquired from i] Yes. From whom?
someone else?

3.Where should notices Where should notices to the creditor be sent?
and payments to the 9 eer - a

Where sho id:
creditor be sent? Sheet Metal Workers! National Pension Fund

different}: =:

Federal Rule of Name Name
Bankruptcy Procedure
(F REP} 2002(6) 3180 Fairview Park Dr., Suite 400

Falls Church, VA 22042

Contact phone 7037397048 Contact phone

Contact email keddis@smwnbforg Contact email

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

4 Does this claimamend [ No
one already filed? Yes. Claim number on court claims registry (if known) 26 Filed on 12/02/2022

MLL DDI YY YN.

5.Do you know if anyone No
else has filed a proof = Yes. Who made the earlier filing?
of claim for this ciaim?

Official Form 410 Proof of Claim page 1
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Give Information About the Claim as of the Date the Case Was Filed

claim?

6.Do you have any O No
number you use to Yes, Last 4 digits of the debtor's account or any number you use to Identify the debtor: O755
identify the debtor?

7.How much is the § 18285.07 Does this amount include interest or other charges?

O Ne

Yes. Attach statement itemizing interest, fees, expenses, or
other charges required by Bankruptcy Rule 3001(c)(2)(A),

8. What is the basis of
the claim?

Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
death, or credit card. Attach redacted copies of any documents supporting the claim required by
Bankruptcy Rule 3001(c).

Limit disclosing information that is entitled to privacy, such as healthcare information.

Delinquent contributions owed to a multiemployer pension fund

9. Is all or part of the
claim secured?

No
0 Yes, The claim is secured by a lien on property,

Nature of property:

L] Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
Proof of Claim Attachment (Official Form 410-A) with this Proof of Claim.

C1 Motor vehicle

O1 Other. Describe:

Basis for perfection:

Attach redacted copies of documents, if any, that show evidence of perfection of a security
interest (for example, a mortgage, lien, certificate of title, financing statement, or other
document that shows the lien has been filed or recorded.)

Value of property: $

Amount of the claim that is $

secured:

Amount of the claim that is § (The sum of the secured and
unsecured: unsecured amounts should

match the amount in line 7.)

Amount necessary to cure any defaultas ofthe ¢
date of the petition:

Annual Interest Rate (when case was filed) %
C] Fixed
CJ Variable
10.ls this claim basedon [] No
a lease? [1] Yes. Amount necessary to cure any default as of the date of the petition. $
11.1s this claim subject to No
a right of setoff? [C1 Yes. Identify the property:

Official Form 410

Proof of Claim page 2

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12,|s all or part of the claim
entitled to priority under
11 U.S.C, § 507 (a)?

Ml No

O Yes. Check all that apply: Amount entitled to priority

A claim may be partly
priority and partly

lawl imits the amount
entitled to priority.

LC] Domestic s uppor’ SOIL (including alimony and child support) ¢
under 11 U.S.C. § 507(a)(1}(A) or (a)(1)(B).

nonpriority. For example,
in some categories, the

LI Up to $3,350* of deposits toward purchase, lease, or rental of ¢

property or services for personal, family, or household use. 11
U.S.C. § 507(a)(7).

CO Wages, salaries, or commissions (up to $15,150") earned within ¢
180 days before the bankruptcy petition is filed or the debtor's

business ends, whichever is earlier, 11 U.S.C. § 507(a}(4).
Cl Taxes or penalties owed to governmental units. 11 U.S.C. § $

507 (a)(8).
CO Contributions to an employee benefit plan. 11 U.S.C. § 507(a){5). 5

UO Other. Specify subsection of 11 U.S.C. § 507(a)(_) that applies $

* Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
of adjustment.

Sign Below

The person completing
this proof of claim must
sign and date it. FRBP
9011(b).

If you file this claim
electronically, FRBP
5005(a)(2) authorizes courts
to establish local rules
specifying what a signature
is.

A person who files a
fraudulent claim could be
fined up to $500,000,
Imprisoned for up to 6
years, or both.

18 U.S.C, §§ 152, 157 and
3671.

Check the appropriate box:

| am the creditor.

O_ | am the creditor's attorney or authorized agent.

CO | am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
O fama guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

j have examined the information in this Proof of Claim and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on date 5/30/2023

MM /DD/¥YYY

/sf Kevin Eddis

Signature

Print the name of the person who is completing and signing this claim:

Name Kevin Eddis
First name Middle name Last name

Title Legal Specialist

Company Sheet Metal Workers’ National Pension Fund
Identify the corporate servicer as the company if the authorized agent is a
servicer

Address 3180 Fairview Park Dr., Suite 400

Number Street
Falls Church, VA 22042

Gity State ZIP Code

Contact phone =—- 7937397048 Email —_ keddis@smwnbf.org

Official Form 410

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in re Blue Diamond Air Systems, Inc.
Eastern District of New York, Case No. 8-22-72698

ADDENDUM TO AMENDED PROOF OF CLAIM OF THE SHEET METAL
WORKERS’ NATIONAL PENSION FUND

lL. Claimant’s claims against the Debtor arise under Sections 502(a)(3), (g)(2), and
4219(c)(2) of the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§
1132(a)(3), (g)(2), and 1399(c)(2).

2. The Board of Trustees, Sheet Metal Workers’ National Pension Fund is the
collective name of the trustees of the Sheet Metal Workers’ National Pension Fund established
under 29 U.S.C. § 186(c)\(S). The trustees are the “named fiduciary,” plan “administrator” and
“plan sponsor,” within the meaning of 29 U.S.C. § 1102(a) 1002(16), and each is an individual
“fiduciary,” within the meaning of 29 U.S.C. § 1002(21), of a “multiemployer plan” and
“employee pension benefit plan,” within the meaning of 29 U.S.C. § 1002(37),(3), known as the
Sheet Metal Workers’ National Pension Fund. The trust, its trustees and plan are jointly or
severally referenced as “NPF” in this Addendum. The Plan is administered at 3180 Fairview Park
Dr., Suite 400, Falls Church, VA 22042.

3. NPF is also the authorized collections agent for the the International Training
Institute for the Sheet Metal and Air Conditioning Industry, the National Energy Management
Institute Committee for the Sheet Metal and Air Conditioning Industry, the Stabilization
Agreement of the Sheet Metal Industry, and the Sheet Metal Occupational Health Institute Trust,
(collectively known as the “National Benefit Funds” or “NBF.’”’)

4, Board of Trustees, Sheet Metal Occupational Health Institute Trust (““SMOHIT”)
is collectively the name of the trustees of the Sheet Metal Occupational Health Institute Trust.

SMOHIT is a jointly labor-management health and safety organization serving the sheet metal
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Blue Diamond Air Systems, Inc.

Proof of Claim Addendum

industry established under 29 U.S.C. § 186(c)(5). The trust and its trustees are individually and
jointly referred to as “SMOHIT” in this Addendum, SMOHIT is administered at 3180 Fairview
Park Dr, Suite 400, Falls Church, VA 22042.

5. Board of Trustees, National Energy Management Institute Committee (“NEMIC”)
is the collective name of the trustees of the National Energy Management Institute Committee.
NEMIC is a labor management committee established pursuant to the Labor Management
Cooperation Act of 1978 and 29 U.S.C. § 186(c)(9) that is funded by contributions under various
collective bargaining agreements. NEMIC is the principal source of funding for the National
Energy Management Institute (SNEMI”), which is a District of Columbia nonprofit corporation
whose directors are comprised of equal numbers of labor and management representatives.
NEMIC and NEMI are jointly or severally referred to as “NEMIC” in this Addendum. NEMIC is
administered at 3180 Fairview Park Dr., Suite 400 Arlington Boulevard, Fairfax, Virginia 22031.

6. Board of Trustees, International Training Institute of the Sheet Metal and Air
Conditioning Industry (“TTT”) is the collective name of the trustees of the International Training
Institute of the Sheet Metal and Air Conditioning Industry. [TT is an employee welfare benefit plan
within the meaning of Section 3(2), (3) of ERISA, 29 U.S.C. §§ 1002(2), (3), and a multiemployer
plan within the meaning of Section 3(37)(A) of ERISA, 29 U.S.C. § 1002(37)(A), established and
maintained for the purpose of providing apprenticeship training and educational benefits to eligible
employees. ITT is a jointly administered trust fund established pursuant to Section 302(c)(5) of the
LMRA, 29 U.S.C. § 186(c)(5). The Trustees of ITI are “fiduciaries” within fhe meaning of Section
3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A). The trust, its Trustees and plan are individually and
jointly referred to as “ITT” in this Addendum. ITI is administered at 3180 Fairview Park Dr., Suite

400, Falls Church, VA 22042,
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Blue Diamond Air Systems, Inc.
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7. Board of Trustees, National Stabilization Agreement of the Sheet Metal Industry
Trust Fund (“SASMI”) is the collective name of the trustees of the National Stabilization
Agreement of the Sheet Metal Industry Trust Fund. SASMI is an employee welfare benefit plan
within the meaning of Section 3(2), (3) of ERISA, 29 U.S.C. § 1002(2), (3), and a multiemployer
plan within the meaning of Section 3(37)(A) of ERISA, 29 U.S.C, § 1002(37)(A), established and
maintained for the purpose of providing benefits to eligible employees. SASMI is a jointly
administered trust fund established pursuant to Section 302(c)(5) of the LMRA, 29 U.S.C. §
186(c)(5). The trustees of SASMI are “fiduciaries” within the meaning of Section 3(21)(A) of
ERISA, 29 U.S.C. § 1002(21)(A). The trust, its trustees and plan are individually or jointly referred
to as “SASMI” in this Addendum. SASMI is administered at 3180 Fairview Park Dr., Suite 400,
Falls Church, VA 22042.

8. NPF, ITI, SMOHIT, SASMI, and NEMIC are jointly or severally referenced as the
“National Funds” in this Addendum.

9, Blue Diamond Air Systems, Inc. (“Blue Diamond”) employed employees
represented for purposes of collective bargaining by the International Association of Sheet Metal,
Air, Rail and Transportation Workers ff/k/a Sheet Metal Workers' International Association and
one of its affiliated Local Unions which is a labor organization representing employees in an
industry affecting interstate commerce and are jointly or severally referenced as "Unions" in this
Addendum.

10. Atall times relevant, the Debtor was party to or agreed to abide by the terms and
conditions of collective bargaining agreements with the Union (such agreements referred to singly

or jointly as "Labor Contracts"),
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Blue Diamond Air Systems, Inc.
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11. The Debtor also signed or agreed to abide by the terms of the agreements and
declarations of trust of the National Funds (singly or jointly, "Trust Agreements"), made between
certain employers and employee representatives in an industry affecting interstate commerce to
promote stable and peaceful labor relations.

12. Under the Labor Contracts, Trust Agreements, rules and regulations adopted by
the Funds and applicable law, the Debtor agreed:

(a) To make full and timely payment on a monthly basis to the Funds, as required
by the Labor Contracts, Trust Agreement and rules and regulations; and
(b) To pay liquidated damages, late charges, interest, and all costs of litigation,

including attorneys' fees, expended by the Funds to collect any amounts due as a

consequence of the Company's failure to comply with its contractual and statutory

obligations described in Subparagraph (a).

13. Article V, Section 3 of the governing Trust Document and Section V of NPF’s
Procedures for the Collection of Contributions both provide that the Funds may audit a
contributing employer for the purposes of assuring the accuracy of reports and ensuring that such
employer has remitted the appropriate amount of contributions to the Funds. The Funds have
conducted a payroll audit for the period of 2018 through 2021 and, as shown on the following

page, the Debtor was found to owe $18,285.07.

11 U.S.C. § 507(a)(5) Priority Claim for Delinquent Contributions

14. Claimant is currently pursuing further auditing of the Debtor for periods after 2021

through the close of the Debtor’s business via a Rule 2004 examination. It is believed that some
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Blue Diamond Air Systems, Inc.
Proof of Claim Addendum

of the amounts that may become due under this review will be subject to priority pursuant to 11

U.S.C. §507(a)(5).
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Employer # 132677 &020755

Local Union 28

Interest 0.0233%

Contribution Amount Amount interest as of

Month Due Date Due Paid Petition Date Damages

Jan-18 2/20/2018 § 321,00 $ 154.45 $§ 32.10
Feb-18 3/20/2018 $ 332,70 § 156.38 $ 33.27
Mar-18 4/20/2018 $ (1,245.21) $ - $ -
Apr-18 5/20/2018 $§ 56,29 $ 25.37 $ 5.63
May-18 6/20/2018 $ 634,87 § 279.56 $ 63,49
Jun-18 7/20/2018 § 828.01 § 356.30 $ 82,80
Jul-18 8/20/2018 $ 36.55 S 48.53 $ 11.56
Aug-18 9/20/2018 $ (625,73) S - S -
Sep-18 10/20/2018 $ 222.86 s goi4 §$ 22,29
Oct-18 11/20/2018 $ 240,32 $ 93.71 $ 24,03
Nov-18 12/20/2018 5 405.58 5 154.22 § 40.56
Dec-18 1/20/2019 5 519.04 § 192.21 $ 51.590
Jan-19 2/20/2019 $ 593.36 s 213.89 5 59.34
Feb-19 3/20/2019 § 129.60 $ 45.57 § 12,96
Mar-19 4/20/2019 $ 30,27 5 10.35 $ 3.03
May-19 6/20/2019 $ 125.44 5 40.51 $ 12.54
Jul-19 8/20/2019 $§ 449.53 5 136.80 $ 44.95
Aug-19 9/20/2019 $ 383.16 5 113.01 $ 38.32
Sep-19 10/20/2019 $ 1,588.75 5 454.26 $ 158.88
Oct-19 11/20/2019 $ 52.08 5 14.41 $ 5.21
Noy-15 12/20/2019 $ 159,36 $ 42,67 $ 15,94
Dec-19 1/20/2020 $ 680.80 $ 176.10 $ 68.08
Mar-20 4/20/2020 $ 86.80 $ 20.16 5 8,68
Apr-20 5/20/2020 $ 68,15 $ 15.25 5 6.82
Jul-20 8/20/2020 $ 191.92 s 37.96 $ 19,19
Sep-20 10/20/2020 $ 158.00 $ 28.58 5 15.80
Oct-20 11/20/2020 $ 17,36 s 2.99 5 1.74
Jan-24 2/20/2021 5 450.80 S$ 66.51 $ 45.08
Feb-21 3/20/2021 § 297.00 § 41,60 § 29.70
Mar-21 4/20/2021 $ 475.20 5 62.67 $ 47,52
Apr-21 5/20/2021 § (123.14) 5 - $ -
May-21 6/20/2021 $ 158.40 5 18.36 5 15,84
Jun-21 7/20/2021 $ 256,72 $ 29,64 S 27,41
Jul-21 8/20/2021 5 1,448.82 5 145.13 $ 144.88
Aug-21 9/20/2021 $ 485.53 $ A480 $ 48.55
Sep-21 40/20/2021 $ (166,34) $ - 5 -
Oct-21 11/20/2021 $ (90.64) $ - § -
Nov-21 42/20/2021 $ (96.70) 5 - $ -
Dec-21 1/20/2022 § 281.74 S 17.64 § 28.61

Total by Type: § 9,818.25 5 3,329.23

Total Contributions: § 9,818.25

Tota! Estimated Interest: § 3,329.23

Liquidated Damages: $ 981,83

Post-Petltion Interest as of 5/26/23: 5 875.77
Cost of Audit: $ 3,280.00
Balance Due: $ 18,285.07
